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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA


GINA KANELOPOULOS, ET AL.,                    )
                                              )
                             Plaintiff        )
                                              )
              vs.                             )           No. CIV-13-993-C
                                              )
ALLSTATE INSURANCE COMPANY,                   )
ET AL.,                                       )
                  Defendant                   )


                         ADMINISTRATIVE CLOSING ORDER

       On the representation from defendant’s counsel Anthony S. Cox, the parties have

reached a settlement and compromise, it is ordered that the Clerk administratively

terminate this action in his records without prejudice to the rights of the parties to reopen

the proceeding for good cause shown, for the entry of any stipulation or order, or for any

other purpose required to obtain a final determination of the litigation.

       If the parties have not reopened this case within 30 days of this date for the

purpose of dismissal pursuant to the settlement and compromise, Plaintiff’s action shall

be deemed to be dismissed. All pending motions are stricken as moot.

       IT IS SO ORDERED this 22nd day of July, 2014.
